              Case 3:10-cv-05900-EDL Document 8 Filed 04/13/11 Page 1 of 2



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9                     UNITED STATES DISTRICT COURT
10
                FOR THE NORTHERN DISTRICT OF CALIFORNIA

11   LAJANEE SMITH,                 ) Case No. 3:10-cv-05900-EDL
                                    )
12   Plaintiff,
                                    ) NOTICE OF VOLUNTARY
13
            vs.                     ) DISMISSAL WITH PREJUDICE
14                                  )
15
     CHECK & CREDIT REPORTING, )
     INC.                           )
16
     Defendant.                     )
17
                                    )
                                    )
18
            NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
19
     Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
20

21   prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
22
     motion for summary judgment. Accordingly, this matter may be dismissed with
23

24   prejudice and without an Order of the Court.
25
           RESPECTFULLY SUBMITTED this 13th day of April, 2011.
26

27
                              By:    s/Todd M. Friedman
                                     Todd M. Friedman, Esq.
28                                   Law Offices of Todd M. Friedman, P.C.
                                     Attorney for Plaintiff


                                       Notice of Dismissal - 1
              Case 3:10-cv-05900-EDL Document 8 Filed 04/13/11 Page 2 of 2



1    Filed electronically on this 13th day of April, 2011, with:
2
     United States District Court CM/ECF system
3

4    And hereby served upon all parties
5
     Notification sent on this 13th day of April, 2011, via the ECF system to:
6

7    Honorable Elizabeth D. Laporte
     Judge of the United States District Court
8
     Northern District of California
9
     Copy sent via mail on this 13th day of April, 2011, to:
10

11   Check & Credit Reporting, Inc.
12   d/b/a CCR & Associates
     Attn: Catherine McPherson
13
     3806 Union Road, Suite 155
14   Cheektowaga, NY 14255
15

16   By: s/Todd M. Friedman
17
         Todd M. Friedman

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                                        Notice of Dismissal - 2
